                       Case 2:14-cr-00043-KJM  Document
                                    IN THE UNITED STATES 22 Filed 03/03/14
                                                         DISTRICT  COURT Page 1 of 1
                                               EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                  Plaintiff,

                          v.                                       CR NO: 2:14-CR-43 KJM

JOSEPH ROBERT SHARPE,
                                 Defendant.


                                  APPLICATION FOR WRIT OF HABEAS CORPUS
               The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                          ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:        JOSEPH ROBERT SHARPE
Detained at              Butte County Sheriff’s Office
Detainee is:             a.)    ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                   charging detainee with:
                  or     b.)    ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:           a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                  or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                   is currently being served at the detaining facility

                        Appearance is necessary on March 17, 2014 in the Eastern District of California.

                         Signature:                                      /s/ Sherry D. Hartel Haus
                         Printed Name & Phone No:                        SHERRY D. HARTEL HAUS
                         Attorney of Record for:                         United States of America

                                               WRIT OF HABEAS CORPUS
                               ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, on March 17, 2014, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Dated:    March 3, 2014
                                                                       Honorable Allison Claire
                                                                       U.S. MAGISTRATE JUDGE

Please provide the following, if known:
AKA(s) (if                                                                                    ☒Male     ☐Female
Booking or CDC #:         130041                                                              DOB:      10/11/1978
Facility Address:         33 County Center Drive, Oroville, CA 95965                          Race:
Facility Phone:           (530) 538-7471                                                      FBI#:
Currently

                                                         RETURN OF SERVICE
Executed on:
                                                                       (signature)
